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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   CASE # 1;20-CV-05458 (LTS)(SDA)


   STEVEN E. GREER

                                      -PLAINTIFF

    vs.



   TUCKER CARLSON, FOX CORPORATION, FOX NEWS MEDIA, FOX NEWS NETWORK LLC,
   LACHLAN MURDOCH, SUZANNE SCOTT, JUSTIN WELLS, BLAKE NEFF, CHARLES GASPARINO,
   FOX BUSINESS NETWORK. BRIAN JONES AND NEWS CORPORATION, DOW JONES, THE WALL
   STREET JOURNAL, GERARD BAKER, JENNIFER STRASBURG.

                                      - DEFENDANTS




   STATE OF NEW YORK, COUNTY OF QUEENS

   KATHLEEN RAWNER, BEING DULY SWORN, DEPOSES AND SAYS THAT DEPONENT IS NOT A
   PARTY TO THIS ACTION, IS OVER 18 YEARS OF AGE AND RESIDES IN THE STATE OF NEW YORK.

   ON 8/14/20 DEPONENT ENCLOSED A COPY OF THE WITHIN COMPLAINT FOR : 1- UNFAIR
   COMPETITION BY MISAPPROPRATION - (COMMON LAW). 2- MISAPPROPRIATION OF "HOT
   NEWS" - (COMMOM LAW), 3 - UNJUST ENRICHMENT - (COMMON LAW), 4 - "BLACKLISTING" -
   i.e. TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS, AND TORTIOUS
   INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE, (BOTH COMMON LAW), AND
   INJURY TO BUSINESS REPUTATION (NY GEN BUS 360-L 92012), 5 - DEFAMATION - (COMMON
   LAW), 6 - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS - (COMMON LAW),IN A
   POSTPAID SEALED WRAPPER PROPERLY ADDRESSED TO RUDY GIULIANI AT THE ADDRESS OF 45
   E. 66TH STREET, 10Th FLOOR, NEW YORK, NEW YORK 10065. DEPOSITED SAID WRAPPER IN A
   POST OFFICE OF THE UNITED STATES POSTAL SERVICE TO BE MAILED BY FIRST CLASS MAIL.
   MARKED PERSONAL AND CONFIDENTIAL.




   SWORN TO BEFORE ME ON
              t

                                         14t;4
                                          KATHLEEN RAWNER
          VICTOR RAWNER
NOTARY PUBLIC-STATE OF NEW YORK
        No. 01 RA6399727
    Qualified in Nassau County
 My Commission Expires 10-28-2023
